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~AO 2458       (Rev. 9/00) Judgment in a Criminal Case
               Sheet 1

                                 UNITED STATES DISTRICT COURT
                                            SOUTHERN DISTRICT OF CALIFORNIA
               UNITED     STATES      OF AMERICA                           JUDGMENT IN A CRIMINAL CASE
                                 v.                                        (For Offenses Committed On or After November I, 1987)

                    Lana Lenee Creager       (02)                          Case Number:      07CR0136-W

                                                                           Robert C. Schlein
                                                                           DefendanCs Attorney
REGISTRA TION NO. 02494298
THE DEFENDANT:
X      pleaded guilty to count        two of the indictment

       Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offenses:
                                                                                                                                 Count
Title & Section                     Nature of Offense                                                                          Number(s)
18   use 2113(a)                    Bank Robbery                                                                                   2




   The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is imposed pursuant               to the
Sentencing Reform Act of 1984.
Counts one and three of the indictment ordered dismissed.



X    Assessment:        $ 100.00 payable forthwith.
X     Fine ordered waived.

of name, ITresidence,
             IS ORDERED     that the
                      or mailing     defendant
                                  address  until shall  notifyrestitution,
                                                 all fines,      the United costs,
                                                                              Statesand
                                                                                      attorney
                                                                                         specIal for this district imposed
                                                                                                   assessments      within 30bydays
                                                                                                                                this of any change
                                                                                                                                     judgment   are
in
fully
   the paid.
        defendant's
              If ordered
                       economIc
                          to pay restitution,
                                  circumstances.
                                              the defendant     shall notify the court and United States attorney of any material change
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              Sheet 2 - Imprisonment

                                                                                                      Judgment -   Page   _2   _   of   2.
DEFENDANT:                       Lana Lenee Creager       (02)
CASE NUMBER:                     07CR0136-W


                                                                 IMPRISONMENT

      The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
30 months.




X         The court makes the following recommendations to the Bureau of Prisons:
          The Court recommends placement in the western region.
          The Court recommends consideration for the Bureau of Prisons, 500 hour, long term, drug treatment program.




o         The defendant is remanded to the custody of the United States Marshal.

          The defendant shall surrender to the United States Marshal for this district:

                                                      o a.m.      o p.m.       on

          o      as notified by the United States Marshal.

o         The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          o      before 2 p.m. on

          o      as notified by the United States Marshal.

          o      as notified by the Probation or Pretrial Services Office.



                                                                     RETURN
I have executed this judgment as follows:

          Defendant delivered on                                                           to

at   _______________                                   ' with a certified copy of this judgment.


                                                                                                   UNITED STATES MARSHAL

                                                                             By
                                                                                             DEPUTY UNITED STATES MARSHAL
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             Sheet 3 - Supervised Release

                                                                                                          Judgment-Page      ~        of   --5.
  DEFENDANT:                    Lana Lenee Creager
  CASE NUMBER:                  07CR0136-W
                                                          SUPERVISED RELEASE

  Upon release from imprisonment, the defendant shall be on supervised release for a term of 3 years.
                                                        MANDA TORY CONDITIONS

       The defendant shall reRort to the probation office in the district to which the defendant is released within 72 hours of release from
  the custody of the Bureau of Prisons.
  The defendant shall not commit another federal, state or local crime.
  The defendant shall not illegally possess a controlled substance.
  For offellses committed all or after September 13, 1994:
        The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test within
   15 days of release from imprisonment and at least two periodic drug tests thereafter.
  o The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
          future substance abuse.

          The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

               Drug testing requirements will not exceed submission of more than eight drug tests per month during the term of supervision,
               unless ordered by the Court.
               The
               If thisdefendant
                       judgment shall cooperate
                                 imposes         as adirected
                                          a fine or             in the
                                                       restitution     collectionit of
                                                                    obligation,        a DNA
                                                                                    shall       sample, pursuant
                                                                                          be a condition          to 18 release
                                                                                                         of supervised  USC 3583(d)
                                                                                                                                that tne defendant pay
          any such fine
          Schedule      or restitutton
                   of Payments           that in
                                   set forth   remains   unpaid at the commencement
                                                 this judgment.                        of the term of supervised release in accordance with the

       The defendant shall comply with the standard conditions that have been adopted by this court.              The defendant shall also comply
  with any special conditions imposed.

                                        STANDARD CONDITIONS OF SUPERVISION

  1)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days
          of each month;
  3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
  5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
  6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)
          theadefendant
          of             shall granted
               felony, unless  not associate with any
                                       permission      persons
                                                   to do so by engaged  in criminal
                                                               the probation  officer;activity and shall not associate with any person convicted
 10)
          theany
          of  defendant  shall oDserved
                 contraband     permit a In
                                         probation  officer
                                            plain view       to probation
                                                        of the  visit him or her at any time at home or elsewhere and shall permit confiscation
                                                                           officer;
 11 )     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
          officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court;
 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
          criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to
          confirm the defendant's compliance with such notification requirement.
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                                                                                                     Judgment-Page     ----4.....- of   ----5.
DEFENDANT:                 Lana Lenee Creager
CASE NUMBER:               07CR0I36-W


                                               SPECIAL CONDITIONS OF SUPERVISION

          The defendant shall not possess fireanns, explosive devices, or other dangerous weapons.

          The  defendantmanner,
          a reasonable   shall submit
                                 by the toprobation
                                            search ofofficer
                                                      person,orproperty,
                                                                otller lawresidence, abode
                                                                           enforcement      or vehicle, at a reasonable time and in
                                                                                        officer.
          The defendant shall report all vehicles owned, operated, or in which the defendant has an interest to the probation officer.
          The defendant shall participate in a program of drug or alcohol abuse treatment, including urinalysis testing and counseling,
          as directed by the probation officer. Tne defendant may be required to contribute to the costs of services rendered in an
          amount to be detennined by the probation officer, based on the defendant's ability to pay. Drug testing requirements will not
          exceed submission of more than eight drug tests per month during the tenn of supervIsion, unless by order of the Court.
          The defendant shall provide complete disclosure of personal and business financial records to the probation officer as
          requested.
          The defendant shall maintain full-time employment or school enrollment or a full-time combination of both.
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AO 245 S RESTITUTION,      FORFEITURE, OR OTHER PROVISIONS OF THE JUDGMENT
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DEFENDANT: LANA LENEE CREAGER                                                    JUDGMENT PAGE          5       OF 5
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                                                       RESTITUTION

         IT IS SO ORDERED the defendant shall pay restitution in the amount of$250.00 through the Clerk, U.S.
District Court, payable forthwith or through the Inmate Financial Responsibility Program during the term of
incarceration, with the payment of any remaining balance to be made following the defendant's release from
prison.
